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                             UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

IN RE:                                                )        CHAPTER 13
                                                      )
KARLEY KIMMEL NGUYEN,                                 )        CASE NO. 16-67191-jrs
aka KARLEY K. NGUYEN,                                 )
aka KARLEY NGUYEN,                                    )
                           Debtors.                   )
---------------------------------------------------------------------------------------------------
                                                      )
AMERIHOME MORTGAGE COMPANY, )
LLC                                                   )
                           Movant,                    )
                                                      )        CONTESTED MATTER
v.                                                    )
                                                      )
KARLEY KIMMEL NGUYEN,                                 )
NANCY J. WHALEY, Trustee                              )
                           Respondents.               )
____________________________________/

                                          NOTICE OF HEARING

         PLEASE TAKE NOTICE that AmeriHome Mortgage Company, LLC, has filed a Motion

for relief from stay and related papers with the Court and that the Court will hold a hearing on

the Motion at 10:30 A.M. on January 24, 2017, Courtroom 1404, U.S. Bankruptcy

Courthouse, 75 Ted Turner Drive, SW, Atlanta, Georgia 30303.

         Your rights may be affected by the Court’s ruling on these pleadings. You should read

these papers carefully and discuss them with your attorney, if you have one in this bankruptcy

case (if you do not have an attorney, you may wish to consult one). If you do not want the Court

to grant the relief sought in these pleadings, or if you want the Court to consider your views, then

you and/or your attorney must attend the hearing. You may also file a written response, you

must attach a certificate stating when, how and to whom (including addresses) you served the

response. Mail/deliver your response so it is received by the Clerk at least two (2) business days

before the hearing. The address of the Clerk’s office: Clerk, United States Bankruptcy Court,
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75 Ted Turner Drive, SW, Room 1340, Atlanta, Georgia 30303. You must also mail a copy

to the undersigned at the address below. In the event a hearing cannot be held within thirty (30)

days from the filing of the motion for relief from the automatic stay as required by 11 U.S.C.

§362, Movant waives this requirement and agrees to the next earliest possible date, as evidenced

by signature below. The undersigned consents to the automatic stay (and any related co-debtor

stay) remaining in effect with respect to Movant until the Court orders otherwise.




                                              /s/ Susan B. Shaw
                                              Susan B. Shaw
                                              Albertelli Law
                                              Georgia Bar No.: 640237
                                              100 Galleria Parkway, Suite 960
                                              Atlanta, GA 30339
                                              Assistant’s Telephone: (813) 221-4743 ext 2504
                                              Facsimile: (813) 221-9171
                                              sshaw@albertellilaw.com
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                                   CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was provided via

Regular U.S. Mail and/or Electronic Mail to the parties listed on the attached service list, this

28th day of December, 2016.


                                             /s/ Susan B. Shaw
                                             Susan B. Shaw
                                             Albertelli Law
                                             Georgia Bar No.: 640237
                                             100 Galleria Parkway, Suite 960
                                             Atlanta, GA 30339
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SERVICE LIST

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Suwanee, GA 30024

Howard Jay Kent
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Suite 750
3355 Lenox Road
Atlanta, GA 30326

Nancy J. Whaley
Nancy J. Whaley, 13 Trustee
Suite 120
303 Peachtree Center Avenue
Atlanta, GA 30303
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                           Movant,                    )
                                                      )        CONTESTED MATTER
v.                                                    )
                                                      )
KARLEY KIMMEL NGUYEN,                                 )
NANCY J. WHALEY, Trustee                              )
                           Respondents.               )
____________________________________/

                       MOTION FOR RELIEF FROM AUTOMATIC STAY

         AmeriHome Mortgage Company, LLC (“Movant”) hereby waives the 30 day hearing

requirement of Section 362(e) and moves the Court under 11 U.S.C. §362(d) for relief from the

stay for the purpose of foreclosing pursuant to a certain Security Deed, and states the following:

         1.       On September 29, 2016, Debtor(s) (the term “Debtor” herein shall refer to both

single and joint debtors) filed a Voluntary Petition for Relief pursuant to Chapter 13 of the

United States Bankruptcy Code.

         2.       Movant holds a security deed which describes real property owned by Debtors

and known as: 4435 Settles Bridge Road, Suwanee, GA 30024 (the “Property”).

         3.       The Property is security for a promissory note held by Movant. A copy of the

Note, Mortgage, together with the Assignment of Mortgage, are attached hereto as Exhibits “A”

and “B,” respectively.
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       4.      The principal balance is $256,791.65, and the value of the Property is

approximately $265,000.00, pursuant to Debtor’s Schedule “D.”

       5.      The Debtor is in breach of the terms of the aforementioned Chapter 13 Plan and

the note and security deed by failing to make the necessary post-petition payments and is now

due for the October 1, 2016 post-petition payment. Post-petition arrearages are as follows:

            3 Payments @ $1,964.59 for October 1, 2016 through                   $5,893.77
            December 1, 2016

            Costs: Attorneys’ Fee                                                $ 850.00
            Costs: Court Filing Fee                                              $ 181.00


            Total Post Petition Arrearage                                        $6,924.77

       6.      Movant respectfully requests that the Court grant it relief from the automatic stay

pursuant to §362(d)(1) of the Bankruptcy Code, for cause, namely the lack of adequate

protection to Movant for its interest in the Property.

       7.      The Security Deed and 11 U.S.C. §506(b) entitles Movant to attorney fees in

pursuing legal action such as this Motion, unless clearly shown that there is no equity in the

property.

       WHEREFORE, Movant prays (1) for an order relieving it from the bankruptcy stay and

authorizing it to exercise foreclosure rights under its security deed; (2) for attorney fees under 11

U.S.C. §506(b); (3) for waiver of F.R.B.P. 4001(a)(3) to allow Movant to execute the order

granting relief instant; and (4) for such further relief as the Court deems appropriate.


                                                /s/ Susan B. Shaw
                                                Susan B. Shaw
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AMERIHOME MORTGAGE COMPANY, )
LLC                                                   )
                           Movant,                    )
                                                      )        CONTESTED MATTER
v.                                                    )
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KARLEY KIMMEL NGUYEN,                                 )
NANCY J. WHALEY, Trustee                              )
                           Respondents.               )
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Regular U.S. Mail and/or Electronic Mail to the parties listed on the attached service list, this

28th day of December, 2016.



                                                       /s/ Susan B. Shaw
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